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 1

 2

 3
                                  UNITED STATES DISTRICT COURT
 4

 5                        FOR THE WESTERN DISTRICT OF WASHINGTON

 6                                               AT SEATTLE
 7

 8
     Sanjay Chakravarty, Txley, Inc.,
 9
     Plaintiff(s),
10

11                                                     Case No.     20-1576

12                           v.

13                                                     Judge
14   Eric Peterson, City of Burlington, Skagit
15   County - State of Washington

16   Defendant(s).                                     [Jury Trial Demanded]

17

18                                               COMPLAINT
     Plaintiffs Sanjay Chakravarty and Txley, Inc. (“Plaintiffs”) by its attorneys files this Complaint
19
     against Defendants Eric Peterson, the City of Burlington, and Skagit County as a political
20   subdivision of the State of Washington (“Defendants”) and alleges as follows:
     NATURE OF THE ACTION
21

22       This is an action concerning a breach of contract, tortious interference with business
         expectancy, and for alternative violations(s) of 18 U.S. Code § 1962 and 42 U.S. Code §
23
         1983. This case is about a pattern of observably arbitrary and discriminatory decision
24       making by a specific public official. Is it more than a grudge? Did the Defendant Eric
         Peterson discriminate illegally against Mr. Sanjay Chakravarty in the public bidding process?
25       If so, why? Did he do it out of greed, or did he do it out of racial bias, or perhaps both?
26

27   BREACH OF CONTRACT, TORTIOUS INTERFERENCE WITH BUSINESS
     EXPECTANCY, AND FOR ALTERNATIVE VIOLATIONS(S) OF 18 U.S. CODE § 1962
28   AND 42 U.S. CODE § 1983. - 1
     Case No.
                                                                           WHEAT LEGAL PLLC
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                                                                      SEATTLE, WASHINGTON 98104-7047
                                                                         TELEPHONE: (206) 262-7381
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 1     Plaintiff is seeking liability and damages and note that the complaint will also contain a
       formal prayer at its end (see below).
 2

 3
                                            THE PARTIES
 4

 5     Plaintiff Sanjay Chakravarty (“Plaintiff Chakravarty”) is an individual residing in Mount
       Vernon, Washington and a citizen of the state of Washington.
 6

 7
       Plaintiff Txley, Inc. (“Txley” pron. “Tex-lee”) is a Washington state corporation registered
       and doing business in Skagit County.
 8

 9
       Defendant Eric Peterson (“Defendant Peterson”) is an individual that on information and
       belief is residing within this court’s jurisdiction. Defendant Peterson is the Facilities
10     Coordinator for Skagit County Facilities Management.

11
       Defendant City of Burlington is a municipal corporation situated in Washington State.
12
       Defendant Skagit County is cited as a political subdivision of Washington State.
13

14
                                   JURISDICTION AND VENUE
15

16     This Court has jurisdiction over the subject matter of this action under 18 U.S. Code § 1962
       and 42 U.S. Code § 1983. This Court has further supplemental jurisdiction under 28 U.S.
17     Code § 1367.
18
       This Court has personal jurisdiction over Defendant Peterson because Defendant Peterson is
19     domiciled in Washington State.
20
       Venue in this district is proper under 28 U.S.C. § 1391(b)(1) because the defendant resides in
21     this district and all other defendants reside in this district or a district within this state.
22
                                                 FACTS
23

24     For ten years Plaintiff Sanjay Chakravarty has owned and operated Txley, Inc., a facilities
       supply business operating in Western Washington.
25

26

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 1     Txley was established in 2010 as a facilities supply and distribution company. Their focus is
       on performance, reliability, and trustworthiness. They pride themselves in, “[being] an
 2
       independently owned company that has continued to increase our market share every day for
 3     a reason. With our deep knowledge of the local market and our smart approach to finding the
       best products and negotiating the best deals, we make sure our clients have the most positive
 4     and profitable experience available. And because we live in the communities where we do
       business – we are aware of the trends, which in turn provides an unprecedented
 5
       understanding of the latest market conditions. When it comes to market knowledge, Txley
 6     remains the number one resource for your JanSan & Facility needs.”

 7
       The Plaintiff’s organization employs numerous people in the region from diverse
 8     backgrounds, cultures, and experiences.

 9

10

11

12

13     Photos of Plaintiff’s team
14
       The Plaintiff Txley is a member of the Burlington Chamber of Commerce, Mount Vernon
15     Chamber of Commerce; they are also members of the Skagit County Builders Association,
16
       Building Services Contractors Association.

17     Under RCW 36.32.245 no contract for the provision of materials or supplies may be entered
18
       into with a county until after bids are sought, and that contracts requiring competitive bidding
       may be awarded only to the lowest responsible bidder.
19

20
       In 2019 Plaintiff had suggested alternates that some branded alternatives contain higher
       volumes of chlorine toxicity than products carried by the Defendant. Plaintiff makes a
21     practice of suggesting alternative cost-effective solutions of similar or higher efficacy.

22
       THAT TIME DEFENDANT ERIC PETERSON SLAMMED THE DOOR IN
23     PLAINTIFF’S FACE ON LEARNING THAT THE “JAY” OVER THE PHONE WAS
       IN FACT “SANJAY CHAKRAVARTY” When Plaintiff Chakravarty attempted to meet
24     with Defendant Peterson in person, the prior courteous tone and tenor their telephone
       conversations suddenly dissipated. Plaintiff was acutely aware of the change in how “Jay”
25
       was treated, from how “Sanjay” was treated. He felt aggrieved by the Defendant’s implicit
26     bias then, and he raised the issue, to no avail, with the City of Burlington.

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 1      In April 2019 Skagit County went to bid. Plaintiff was awarded this contract.
 2
        On information and belief, Defendant Eric Peterson is hired in January as the Facilities
 3      Coordinator with Ken Hansen as his boss and Director.
 4
        Defendant Eric Peterson sends out a new bid emailed to Plaintiff on 23 April 2020.
 5

 6      Plaintiff objects and calls Ken Hansen. Before submitting their bids for a second time,
        Plaintiffs had a 35-minute telephone call with Ken Hansen registering his objections and
 7      strong concerns on submitting the bid information and specific products requested.
 8
        On information and belief, Ken Hansen immediately directs Eric Peterson to cancel the bid.
 9      There was a new Bid No. 2 sent out on 4/30/2020.
10
        BID(S) BASED GENERALLY AROUND PREFERENCE FOR OFFERINGS OF
11      COMPETITOR Plaintiffs delivered their bid via courier at the last possible moment in
        order to avoid what Plaintiff suspected was collusion.
12

13      ARTFUL CHANGING OF BID PRE-REQUISITES TO 10 YEARS These changes
        favored Bay City Supply. Plaintiff had a nine-year-old business at the time. There is no
14      reasonable relation to the justification for this requirement except to exclude the Plaintiff.
15
        ARTFUL CHANGING OF NO EQUIVALENT PRODUCT EXCEPTIONS The bid
16      requested specific products for which a demonstrably less expensive and higher quality
17
        alternative was available on the market. Just as in 2019, Plaintiff suggested alternates, with
        evidence, that PurTabs called for in the bid and sold by Bay City Supply contain higher
18      volumes of chlorine toxicity than products carried by the Plaintiff. Envirox is another more
        costly product that is demonstrably less effective.
19

20      On the bid, though under contract during 2019, purchasing decisions have demonstrated a
        bias and preference towards Bay City Supply lists, as above. Bay City Supply has a
21      proprietary supply list. It is proprietary to them for the purpose of obtaining preference, and
22
        not because of any specific requirement. For instance, with toilet paper - Bay City Supply
        deals in “GP”, “Solaris”, and “LoCore” branded goods, while Plaintiff deals in “CT
23      Commercial”. Many of the supplies requested are fungible, and many are not.

24
        ACE HARDWARE Eric Peterson or Bret Bryan or their associates invited Ace Hardware of
25      Anacortes, who on information and belief do not generally participate in bids, to participate
        in this bid. This participation was an artifice aimed at camouflaging the unfairness of the
26      process.
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 1     On information and belief, Eric Peterson and Franz Johnson of Bay City Supply acted
       together in either collusion, or conspiracy, or both.
 2

 3

 4                                  FIRST CLAIM FOR RELIEF

 5                                        (Breach of Contract)
                    (Against Defendants City of Burlington and Skagit County)
 6

 7     The Plaintiff realleges and incorporates by reference its allegations to Paragraphs 11 through
       29.
 8

 9     On 10 April 2019, Plaintiff and Defendant Skagit County entered into a Vendor Services
       Agreement by which Plaintiff provided services/products up to a maximum sum of
10     $40,000.00. A true and correct copy of this contract is annexed hereto as Exhibit A. This
11     amount was later increased by $8,000.00 on March 20, 2020.

12     Plaintiff has duly performed all of his/its obligations and duties under the contract.
13
       By not ordering products Defendant Skagit County has breached the contract by refusing to
14     renew or order products it carries and stocks under its agreement.
15
       As a result of Defendant’s breach of contract, Plaintiff has been damaged in an amount to be
16     determined by the court, but no less than $42,000.
17
       The plaintiff, Txley, Inc., claims that the defendant, Skagit County, entered into a contract
18     with it for the supply of facilities maintained by the County. Txley claims that Skagit County
19
       breached this contract by failing to make orders under the Agreement, and instead diverting
       orders to Bay City Supply.
20
                                     SECOND CLAIM FOR RELIEF
21

22                          (Tortious Interference with Business Expectancy)
23
                                   (Against Defendant – Eric Peterson)
24

25         The Plaintiff realleges and incorporates by reference its allegations to Paragraphs 11
       through 29.
26

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 1        That at the time of the conduct at issue, Plaintiff Txley had a business relationship or
       expectancy with a probability of future economic benefit for Plaintiff(s);
 2

 3        Eric Peterson knew of the existence of that business relationship or expectancy;
 4
           Eric Peterson intentionally induced or caused the termination of the business relationship
 5     or expectancy;
 6
           Defendant Eric Peterson's interference was for an improper purpose or by improper
 7     means, and that the pattern of discriminatory conduct was a proximate cause of damages to
       Plaintiff(s).
 8

 9                                    THIRD CLAIM FOR RELIEF
10
                                              (CIVIL RICO)
11

12
                                   (Against Defendant – Eric Peterson)

13         The Plaintiff realleges and incorporates by reference its allegations to Paragraphs 11
14
       through 29.

15        An enterprise existed for the purposes of overcharging the public purse for cleaning
16
       supplies and chemicals. Eric Peterson, Ken Hansen, Bay City Supply, Ace Hardware
       Anacortes & Friday Harbor, and the principals of small local suppliers cooperated in order to
17     render a bid uncompetitive.

18
           During the Covid-19 era, shortages of chemicals used in disinfectants impacts upon
19     interstate commerce in fostering or taking advantage of anti-competitive markets during a
       time of public emergency.
20

21         On information and belief, Eric Peterson derived income from a pattern of racketeering
       activity.
22

23        Part of that income was used in acquiring an interest in or operating the enterprise.

24
                                    FOURTH CLAIM FOR RELIEF
25
                                             (CIVIL RIGHTS)
26

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 1              (Against Defendants – Eric Peterson; City of Burlington; Skagit County)
 2
            The Plaintiff realleges and incorporates by reference its allegations to Paragraphs 11
 3      through 29.
 4
            At the time of the incident(s), Eric Peterson was acting under color of law;
 5

 6          Defendant Eric Peterson intentionally discriminated against Plaintiff Sanjay Chakravarty
        on the basis of national origin or race by rigging public bids for the supply of cleaning
 7      materials, both while at the City of Burlington, and at Skagit County.
 8
            The acts or omissions of Defendant Eric Peterson subjected Plaintiff Sanjay Chakravarty
 9      to be subjected to the deprivation of rights protected by the Constitution or the laws of the
        United States, namely the right not to be denied the equal protection of the laws of the State
10      on the basis of skin color or national origin; and
11
           Defendant Eric Peterson’s actions proximately caused injury or damage to Plaintiff
12      Sanjay Chakravarty.
13

14                                      PRAYER FOR RELIEF

15
     WHEREFORE, Plaintiff respectfully requests that this Court enter a judgment against
     Defendants, granting Plaintiff the following relief:
16

17
        The entry of judgment in favor of the plaintiff on each and every cause of action;

18      The award of the requested damages in the amount of no less than $144,000.00;
19
        The award of costs of the suit and attorney’s fees; and
20

21      Such other relief as the Court deems just and proper.

22

23

24

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 1

 2                                   DEMAND FOR TRIAL BY JURY

 3
     Plaintiff demands a trial by jury on all issues that are so triable.
 4

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 1   Dated: 26th day of October 2020
     Respectfully submitted,
 2

 3

 4                                           Jeffery M. Wheat, WSBA No. 54228
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